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                                IN THE UNITED STATES DISTRICT COURT              FILED
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                                                                          EASTt:RN I)ll.; 1~lt: I "r{KANMS
                               FOR THE EASTERN DISTRICT OF ARKANSAS
                                                                                 OCT 0 5 2011
                                         UTILE ROCK DIVISION
                                                                      JA~ESW.~MACKI CLERK
                                                                      By.   ~     -Ukll UbL.R1(
ARTHUR CARSON,

PLAINTIFF,

VS.




ELNORA THOMPSON, AND

HOSEA THOMPSON,
                                        This case assigned 10 District ~..J!\De:>be.\ \
DEFENDANTS.
                                        and to Magistrate Jud9._......;~:-;::_'--    _




                         PLAINTIFF'S COMPLAINT FOR DIVERSITY OF CITIZENSHIP




TO THE HONORABLE JUDGE OF SAID COURT:

 Comes Now the Plaintiff, Arthur Carson, and brings this His Complaint For Diversity of Citizenship, and
demand for Jury Trial.




                                            JURISDICTION:

This Court has Jurisdiction, pursuant to 28 USC 1332;




                                                  (1)




                                               PARTIES:
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Plaintiff, Arthur Carson, Resident in Pulaski County, Arkansas, 8215 Spanish Rd. Little Rock, AR 72209;

Defendant, Elnora Thompson, Resident of Dallas County, Texas, 3219 Nebraska AVE 75216;

 Defendant, Hosea Thompson, Resident of Dallas County, Texas, 3219 Nebraska AVE75216.




                                                ISSUES:

1).BREACH OF BAILMENT AGREEMENT;

2).CONVERSION OF MONEY AND PROPERTY;

3).ILLEGAL EVICTION OF PLAINTIFF'S OFFSPRINGS WITHOUT DUE PROCESS;

4).FRAUDULENT FUNDRAISER PUTIING FAlSE LIGHT ON PLAINTIFF'S DECEASED MOTHER.




                                                CLAIMS:

                                  BREACH OF BAILMENT AGREEMENT

1).On or About June, 2008,The Defendants, Elnora Thompson, and Hosea Thompson, with Plaintiffs
now deceased Mother, "Willie Faye Moore", agreed that the Defendants would handle Her business
affairs due to Her illness. Such business affairs included paying Her Mortgage from Her Monthly
Teacher Retirement annuity and Social Security Payments, and savings account. Defendants
Responsibility would end on December 28, 2008, upon the Release from Prison her Son, Plaintiff.

Using undue influence, defendants pressured the Decedent to Move in with Them, while converting
the Decedent's savings account into a joint account for Defendant's personal account. The Defendants
informed Plaintiff that they would use Professional movers to placed Decedents' furniture into storage
until Plaintiffs release. The Defendants breached this agreement by hiring Her Nephew ,(Jeffery Collins)
a None professional mover to move Decedent's furniture. As a result, numerous items were severely
damaged, Le.," Organ and Piano", together valued at $3000.




                                                  (2)
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                        DEFENDANT'S CONVERSION OF MONEY AND PROPERTY




2).Because of decedent's illness, She became Mentally and Physically Incompetent, in which defendants
exercised exclusive dominion and control over Her Monies, and Property, while heavily sedating Her
with drugs; Defendants have concealed Decedent's 2001 Altima; rare coin collection; 357 magnum
pistol; lawn mower; large round table; and $2500 cash savings. Contemporaneously, Defendants
wrongfully converted =Decedent's monthly annuity payments from the Texas Teacher's Retirement
System and Social Security payments to their own Personal use, ignoring the main creditor Decedent
wanted paid, "Nationstar Mortgage ". Such actions by Defendants prevented Plaintiff from being able to
take over ownership of Decedent's Home are the proximate cause of Plaintiffs injuries.




                            ILLEGAL EVICTION OF PLAINTIFF'S OFFSPRINGS

3).The Defendants, Elnora and Hosea Thompson, failed to provide Notice to Plaintiff or His Son, and
Grandson, that they would be locked out of Decedent's home, which would be left to Plaintiff upon Her
Death.( The home at 109 Palm Oak Dr., Dallas, TX.)

 After locking Out Plaintiffs Offsprings, said House were left vunerable to vandalism, whereas all the
plumbing and electrical wiring taken, windows broken. This further diminished the value of said Home
Decedent intended for Plaintiffs Residence upon His Prison Release.




                                                     (3)
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                               FRAUDULENT FUNDRAISER PUTIING FALSE

                               LIGHT ON PLAINTIFF'S DECEASED MOTHER




The Defendants conspired and announced to the Metropolitan Baptist Church Plaintiff's Mother had no
Insurance in order to raise Money which they pocketed from the Church, and later collected money
from Family members when Defendants exceeded Decedent's Insurance policy, contrary to Decedent's
Wishes made to Plaintiff and Defendants prior to Her death. Elnora Thomson defamed and insighted
rumors that Decedent failed to take care of Her business is why she had no insurance .this was done
only to impugn, and tarnish Her Reputation, by putting my Mother in a false light. The circulation of this
false information about Plaintiff's Mother were an intentional infliction of emotional distress.




 WHEREFORE, PREMISES CONSIDERED, PLAINTIFF PRAY THAT THIS COURT GRANT TRIAL BY JURY; ISSUE
PECUNIARY ,RECISSORY,COMPENSATORY, AND ACTUAL DAMAGES TOTALING $80,000; AND ALL ELSE
RELIEF THIS COURT DEEM EQUITABLE AND JUST UNDER LAW.




RESPECTFULLY SUBMITIED:


Mb~
ARTHUR CARSON

8215 Spanish Rd

Little Rock, AR 72209




                                                   (4)
